
PER CURIAM.
Affirmed. Edwards v. City of Fort Walton Beach, 271 So.2d 136 (Fla.1972); Farish v. Lums, Inc., 267 So.2d 325 (Fla.1972); Klosenski v. Flaherty, 116 So.2d 767 (Fla.1959); Cricket Club, Inc. v. Basso, 384 So.2d 908 (Fla. 3d DCA 1980); Schwab &amp; Co., Inc. v. Breezy Bay, Inc., 360 So.2d 117 (Fla. 3d DCA 1978); Winky’s, Inc. v. Francis, 229 So.2d 903 (Fla. 3d DCA 1969).
